              Case 17-52249-pmb                  Doc 35 Filed 06/09/17 Entered 06/09/17 11:58:45                   Desc
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Information to identify the case:
Debtor 1              Carnell R Boyd Sr.                                          Social Security number or ITIN   xxx−xx−6797
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2              Palecia L Boyd                                              Social Security number or ITIN   xxx−xx−6005
(Spouse, if filing)
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia

Case number: 17−52249−pmb




Order of Discharge                                                                                                          12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Carnell R Boyd Sr.                                             Palecia L Boyd
                                                                          aka Palecia L Lamar−Boyd

           6/9/17                                                         By the court:


                                                                                            Paul Baisier
                                                                                            United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case, and                        This order does not prevent debtors from paying
it does not determine how much money, if any, the                         any debt voluntarily or from paying reaffirmed
trustee will pay creditors.                                               debts according to the reaffirmation agreement. 11
                                                                          U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors cannot                         all. Generally, a discharge removes the debtors'
sue, garnish wages, assert a deficiency, or                               personal liability for debts owed before the debtors'
otherwise try to collect from the debtors personally                      bankruptcy case was filed.
on discharged debts. Creditors cannot contact the
debtors by mail, phone, or otherwise in any                               Also, if this case began under a different chapter
attempt to collect the debt personally. Creditors                         of the Bankruptcy Code and was later converted to
who violate this order can be required to pay                             chapter 7, debts owed before the conversion are
debtors damages and attorney's fees.                                      discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned by
lien unless the lien was avoided or eliminated. For                       the debtor's spouse, even if that spouse did not file
example, a creditor may have the right to foreclose                       a bankruptcy case.
a home mortgage or repossess an automobile.

                                                                                        For more information, see page 2 >

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Some debts are not discharged                              Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:             agreement are not discharged.

     ♦ debts that are domestic support                     In addition, this discharge does not stop creditors
       obligations;                                        from collecting from anyone else who is also liable
                                                           on the debt, such as an insurance company or a
                                                           person who cosigned or guaranteed a loan.
     ♦ debts for most student loans;


     ♦ debts for most taxes;
                                                             This information is only a general summary
                                                             of the bankruptcy discharge; some
     ♦ debts that the bankruptcy court has                   exceptions exist. Because the law is
       decided or will decide are not discharged             complicated, you should consult an
       in this bankruptcy case;                              attorney to determine the exact effect of
                                                             the discharge in this case.
     ♦ debts for most fines, penalties, forfeitures,
       or criminal restitution obligations;
                                                             This Bankrutcy Discharge is an important
                                                             document that you should retain in the
     ♦ some debts which the debtors did not                  event a copy is needed in the future. If you
       properly list;                                        request a copy from the Clerk's Office at a
                                                             later date you will be required to pay a fee.
     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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